Case 1:17-CV-O4179-DLC Document 88-5 Filed 01/19/18 Page 1 of 33

EXhibit 5

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 2 of 33

Fully Disclosed Clearing Agreement

'I'his Fully Disclosed Clearin Wmt (this “Agreement”) is made and entered into
effective as of the :Z@day of 2009, by and between Alpine Securities
Corporation, a Utah corporation (“Clearing Broker”), and ACAP Financial Corporation, a Utah
corporation (“Correspondent"), having the form of organization set forth below.

Recitals

WHERBAS, Correspondent desires that Clearing Broker shall provide certain services (the
"Services”) to Correspondent With respect to accounts of introduced customers (individually, a
“Customer”, collectively, the “Cust:omers”) and proprietary accounts (collectively, “Accounts”)
introduced to Clearing Broker by Correspondent, which include: (i) executing, clearing and
settling securities transactions (“Transactions”) on behalf of Con'espondolt; (ii) preparing and
delivering connrmations of Transactions and periodic Acco\mt statements; (iii) performing
eashiering funetions, including but not limited to, receiving and delivering checks, funds and
securities and collecting commissions and other fees of Con‘espondent; (iv) safeguarding
Account hinds and seemities; and (v) maintaining books and records with respect to the
Accounts; .

WI-IER.`BAS, the parties are subject to certain state and federal laws and regulations relating
to securities markets and transactions and the customs and usages, rules, by-laws, and
constitutions of the Securities and Bxchange Cominission (tiie “SEC”), the Financial Industry
R.egulatcry Authority (“FINRA ”), any national or regional secmities exchange (“Bxchange”),
any registered clearing agencies, the Board of Govérnors of the Federal Reserve System, or the
United States Deparhnent of the Treasury (collectively, the “Applicab_le Rnles”);

7 WHBRBAS, the word “securities” as used within this ageement shall have the same
meaning and be deiined' in the same manner as provided by Section 3(a)(10) of the Securities
Exchange Act of 1934, as amended (the “Bxchange Act”);and

WHERBAS, Correspondent is a securities broker dealer and desires to utilize the Services as
provided in this Agreement in accordance with the App]icable Rules.

NOW, THER'BFOR.E, in consideration of the mutual covenants hereinafter set forth and
other good and valuable consideration, the receipt and suhiciency of which are hereby
achiowledged, Clearing Broker and Correspondeot hereby covenant and agree as follows:

Section 1. General Provisions

 

 

part of thisAgreenient as ifiizlly set forth herein.

1.2 No Agency or Partnership Created. Nothing contained in this }\greement shall be
deemed to create a partnership, joint venture or agency relationship between Clearing Broker and
Correspondent.

 

ALPINE_LIT167387

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 3 of 33

1.3 Anti-money Laundering Cooperation. Clearing Brcker and Correspondent
acknowledge the obligation each has to comply with the and-money laundering provisions of the
U.S.A. PATRIOT ACT and the Applicable Rules. Clearing Broker and Correspondent agree to
cooperate and share information regarding individuals, entities, organizations and other persons
to assist the other in detecting money laundering activities and shall submit and annually renew
their 314(b) information sharing certiications and other documents required pursuant to
Applicable R.ules to permit the sharing of information between the parties in order to qualify for
any safe harbor provided with respect to such information sharing and cooperation

1.4 Allocat:°on of Responsibility. As between Cleaiing Broker and Correspondent,
Correspondent shall be responsible for the relationship with each Custoiner. Clearing Broker’s
ftmction is limited to the provision to Correspondent of the Services as described herein Unless
specifically allocated to Clearing Broker, Correspondent shall be responsible for all duties and
f\mctions with respect to Customers and concerning any Accounts.

1.5 Approval. Ifrequired, this Agreement shall be subject to approval by the FlNR.A and
by any other self-regulatory organizan`on vested with the authority to review or approve it.
Clearing Broker and Correspondent shall each submit the Agreement to the NASD for approval
In the event of disapproval the parties shall bargain in good faith to achieve the requisite
approval

1.6 Applicable Rules. This Agreement and all transactions pursuant to the terms of this
Agreement shall be subject to the applicable Constitution, Rules, By-Laws, Regulations and
customs and usages of any securities market, association, exchange, or clearing house where
such transactions are effected or of which the Cleai:ing Brolcer is a member, and to all applicable
U.S. Federal and state laws and regulations, including, without limitation, the Securities Act of
1933 as amended (the “Secinities Act”), the Securities Exchange Act of 1934, as amended (the
“Exchange Act”), the Investrnent Advisors Act of 1940, as amended, the Investment Company
Act of 1940, the Bmployee Retirement Inconie Secmity Act of 1974 (“‘ERISA”), and any other
applicable Federal, state, local, or non-U.S law, including all anti~money latmdering laws and
regulations and to any rule or regulation tmder the foregoing, including, without limitation, the
niles of the Securities and Bxchange Commission (the “SEC”), of any state securities authority,
of any “self-regulatory organization” (“SRO”) (as defined in Section 3 of the Exchange Act)
including the New Yorlc Stock Exchange, Inc. (the “NYSB”) and the Finaneial Industry
Regularly Authority (“FINRA”), (each of the foregoing entities, a “Financial Regularly
Authority”) or of any other regulatory body or agency having authority over a party hereto, a
Customer, a transaction, or an Account. A]l of the foregoing are hereinafter called the
“Applicable Rules” or “Rules.”

1.7 Obligations for Compliance with Applicable Rules. Correspondent assumes sole and

 

exclusive responsibility for compliance with the Applicablc Rules' in the same manner and to the

 

 

the Clearing Broker pursuant to this Agreement. This sole and exclusive responsib_'ility includes
(l) using due diligence to leam and on a continuing basis know the essential facts of each
Customer, including verifying the address changes of each Customer, knowing all persons
holding power of attorney over any account, being familiar with each order in an account,
determining the authorization and legality of each transaction in the accounts, (2) complying

 

ALPINE_LIT16'7388

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 4 of 33

with NYSE Rule 405 including any interpretations thereof, and all similar Applicable Rules
(expressly including, but not limited to, the requirements of SBC Rule 17a-3(a)(l7)(i) relating to
customer records), (3) any verification or identification requirements in the Banlc Sccrecy Act, as
amended by the US Patriot Act, (4) the compliance with Regulaiion SHO promulgated by die
Securities and Exchange Commission and any amendment thereto or rules governing short sales,
including daily review of any short position and making arrangement for borrowing or covering
dining the requisite periods, and (5) verify the legality and validity of any asset deposits
including certificate deposits and verifying whether any certificate deposits are “restricted
securities” or “control shares” and the availability for resale of such certificates

Section 2. Services to he Performed by Clearing Broker
2.1 Services. The Services shall include the following:

2.1.1 Opening of Accounts. Clearing Broker shall establish Accounts for Customeis
introduced by Correspondent upon receipt ii'om Correspondent of the information
described in Section 3.1. Upon receipt of information &orn Correspondent changing or
correcting any information with respect to the Account, Clearing Broker will make
such change or correction Clearing Broker shall act on information provided by
Correspondent in reliance upon the representations and covenants made by
Correspondent within this Agreernent regarding the Chistorner Identiiication Program
and Anti-Money Laundering Program of the Correspondent lf a Customer is the
subject of any OFAC list, Clearing Broker in its sole discretion may implement any
action determined to be necessary or appropriate including but not limited to
immediate termination of services with respect to the Account. Correspondent shall be
responsible for establishing procedures on account openings and determining which
clients to accept Clearing Broker at its sole discretion reserves the right to not accept
an Accoimt or to close any Account. Correspondent is responsible for obtaining and
verifying all required information and the identity of each potential Customer.
Correspondent is responsible for obtaining and furnishing to Clearing Broker all
customary and necessary documents related to Customer Accounts and Correspondent
Firm Accounts, and such other documentation as Clearing Broker may reasonably
require from time to time, all in such form as shall be reasonably acceptable to Clearing
Brolcer.

Correspondent acknowledges that Clearing Broker relies on a third party vendor to
provide current OFAC and other govermnent restricted list data and Clearing Broker
shall not be held liable for any errors or omissions caused by such third party vendor.

2.1.2 Execution. Clearing Broker shall execute Transactions in accordance with
°_*-_emewmd€mnedomwedvd-&em€emspondenepmm§ee§ené§édcw»§___~
Correspondent gives speciiic`mstructions wiE respect E roEii'ri_g of 'I'iTachns, the

Clearing Broker will follow those instructions If Correspondent does not give such
specific instructions with respect to the routing of Transactions, the Clearing Broker
may (a) execute the order with another brokerage n`rm that is a market maker in the
security involved, (b) execute the order through a primary or regional exchange, or (c)

 

._ ..~. ..-... _..__ ~.¢- ......_.. .-.

ALPINE_LIT167389

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 5 of 33

execute the order through another market center where it believes that the required
elements for best execution are present, in each case in accordance with all Applicable
Rules and Correspondent direction In return for routing an order to a speci£c market,
the Clearing Broker may receive cash payment or favorable adjustments on trade
errors. Any remuneration received by the Clearing Broker will be considered a
reduction of its execution costs and will not accrue to Acccunts. The Clearing Broker
will comply with all Applicable Rules concerning disclosure to Customers regarding
order routing and payment for order flow. l

2.1.3 Confirmations. Except as may otherwise be agreed, Clearing Broker shall
generate and mail directly to Customers in accordance with instructions received and
accepted nom Correspondent confirmations with respect to all Transactions. Clearing
Broker shall provide copies to Correspondent of all such conlirmations and any other
written communications sent to and received from a Customer. Correspondent
understands and agrees that all such confirmations shall indicate that the Account is
introduced to Clearing Broker by Correspondent

2.1.4 Books and Records. Clearing Broker shall prepare and maintain books and
records with respect to 'I`ransactions and Accounts as required by the Applicable Rules.
Clearing Broker shall also maintain on behalf of Correspondent such additional books,
records, and other documents or information as Correspondent shall request and
Clearing Broker may agree. Clearing Broker shall upon request of Correspondent
provide Correspondent with access to, at Correspondent’s expense, originals or copies
of any such books, records, documents and information in the possession of Clearing
Broker.

2.1.5 Cashiering. Clearing Broker shall perform certain cashier-ing funcn’ons for
Correspondent Said functions may include the processing of deposits by
Correspondent to bank accounts established by and for the benefit of Clearing Broker
of customer funds and the receipt by Correspondent of securities sold for the Accounts
as well as certain administrative functions relating thereto. All customer hinds shall be
promptly deposited and securities shall be promptly forwarded by Correspondent to
Clearing Broker. Clearing Broker shall be responsible for performing administrative
and bookkeeping functions with respect to deposits, fees and charges in the Accounts.
Clearing Broker shall not be responsible for any securities or fimds until properly
delivered to Clearing Broker pursuant to Clearing Broker’s requirements
Correspondent shall not be entitled to issue checks or any negotiable instruments
directly to Customers using insirtments for which the Clearing Broker is the maker or
drawer without written approval of the Clearing Broker. Approval shall be at the sole
discretion of the Clearing Broker and may be considered only upon Correspondent
providing notice and evidence satisfactory to the Clearing Broker of the establishment

 

 

of checks or negole instruments pursuant to Section 3. 9. No third party wires are
permitted and any early pays for Customer will be at the sole discretion of Clearing
Broker. Additional charges will be assigned for any such services

 

ALPINE_LIT167390

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 6 of 33

2.1.6 Account Transfers. Puisuant to written notification executed by a Customer
and forwarded by Correspondent to Clearing Broker, any Customer may choose to
transfer its Acco\mt to another broker dealer. Upon receipt of such notice, Clearing
Broker shall have exclusive responsibility for compliance with Applicable Rules. .
Clearing Broker may accept and process directions received directly ii'om the
Customer with respect to the transfer of the Account to another broker dealer; Clearing
Broker may reiiise to accept any other orders or instructions received directly from a
Customer except those received on behalf of Customer ii‘om Correspondent

2.1.7 Correspondent and Customer Service. Clearing Broker shall be responsible
for receiving and responding to all inquiries from Correspondent regarding the
Accounts and all confirmations and statements relating to the Accounts. Bxeept as
otherwise required by the Applicable Rules, all such inquiries should initially be
directed to Clearing Broker’s Customer Service Departrnent.

2.1.8 Fully Disclosed Basls. Clearing Broker shall carry the Acco\mts on a fully
disclosed basis. Clearing Broker shall be responsible for making all disclosures to
Customers required by FlNR.A Rule 3230(g). Correspondent shall be responsible to
make any disclosures and obtain any agreements nom its Customers required by the
Applicable Rules, including, without limitation, any disclosures or agreements required
for listed cptions, penny stocks, derivative securities, account transfers or conversions
The cost of making such disclosures or obtaining such agreements shall be borne by
Correspondent

2.1.9 Clearance and Settlement of Trades. Clearing Broker shall clear and settle
Transactions in the Accounts in accordance with the Applicablc Rules. Clearing Broker
shall receive from Correspondent or directly from Customer any securities sold and
will deliver such securities in accordance with the Applicable Rules.

2.1.10 Statements. Clearing Broker shall prepare and mail directly to Chistomers in
accordance with instructions received and accepted from Correspondent periodic
statements for the Accounts in accordance with the Applicable Rules. All such
statements shall indicate that the Account is introduced by Correspondent and carried
by Clearing Broker. Bach such statement shall contain the name and telephone number
of the Customer Service Department at Clearing Broker that Customers can contact
with questions regarding the Account and shall disclose that all hinds and securities of
Customers are in the custody of Clearing Broker and not of Correspondent

2.1.11 Safekeeping. Clearing Broker shall hold in custody and safe-keeping all

securities and payments received for the Accounts, collect and disburse dividends and

other distributions with respect to sneetname securities within the Acco\mts and
_-_-_pmews-m-%sesdaneeqd&-myémsdomeede-§mnb€omespo@ememmge__

otters, mm“_

with respect to securities' in the Accounts.

2.1.12 Exception and Suspicious Activity Reports. To the extent provided by
Applicable Rules, at the commencement of this Agreement and annually therealter,

 

ALPINE_LIT167391

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 7 of 33

Clearing Broker shall furnish to Correspondent a list of reports that may assist
Correspondent, in Correspondent’s sole opinion, in supervising and monitoring
Accounts, including but not limited to, exception reports Correspondent shall
promptly notify Clearing Broker as to which of such reports should be furnished to
Correspondent It is understood that Clearing Broker shall not be responsible for
supervising Correspondent’s activities or compliance with Applicable Rules including
but not limited to Regulau'on SHO promulgated by the Securities and Exchange
Comrnission. On an annual basis within thirty (30) days of September 30 of each year,
Clearing Broker shall provide to Correspondent’s Chief Bxecutive Officer and
Compliance Onicer a list of reports offered to Correspondent, and shall specify those
reports actually requested by, or supplied to, Correspondent as of the report date.
Clearing Broker will tile a copy of such notice with Correspondent’s designated
examining authority.

Clearing Broker shall conduct screening of Customer Account activity to detect
indications of suspicious cash transactions or security transfer activities that could
indicate violations of Applicable Rules including money laundering thhing
contained herein, however, shall relieve Coirespondent from its obligations to
establish, maintain and enforce a Customer Identiiication Program and to file such
reports required of Correspondent under Applicable Rules including, but not limited to,
cash and currency transaction reports, suspicious activity reports, and such other
reports required pursuant to Applicable Rules. Correspondent shall notify Clearing
Broker of any suspicious activities in Customer Accounts regardless of whether any
report is iled. Failure to notify Clearing Broker will be deemed a breach of this
Agreement.

2.1.13 Customer Complaints. To the extent provided by Applicable Rules, Clearing
Broker shall promptly furnish tc Correspondent and Correspondent’s designated
examining authority any written complaint &om a Customer with respect to
Correspondent’s responsibilities and functions hereunder received by Clearing Broker.
Clearing Broker shall notify such Customer in writing that Clearing Broker received
such complaint and furnished same to Correspondent for response and to
Con'espondent’s designated examining authority.

2.1.14 Confidentiality of Customer Information. Clearing Broker shall maintain the
confidentiality of all non-public personal infon:nation provided With respect to the
Customer and shall provide for adequate security and integrity of the records regarding
such customer information in accordance with the Applicable Rules. Clearing Broker
shall provide each Customer with a notice regarding its privacy policies and
procedures in accordance with Regulation S-P of the SEC upon the opening of the
Account.

 

 

2.1.15 Access tonuuomc Order l_i`.'ntry Devices. To § extent Eiat Clearing
Broker provides Con'espondent with electronic order entry devices to route orders to
any National Exchange or securities market, Clearing Broker shall assure itself that
Correspondent employs adequate written control procedures to minimize the potential
for errors. Correspondent assumes all risk in the utilization of such devices.

 

ALPINE_LIT167392

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 8 of 33

2.1.16 Order Andit Trail System (OATS). Clearing Broker has taken all necessary
steps to comply with FINRA’s requirements relating to the Order Audit Trail System
(“OATS”). To the extent applicable, for all NASDAQ transactions executed by
Clearing Broker, Clearing Broker agrees to perform OATS reporting for all data
commencing at the u`me order is received by Clearing Broker. Clearing Broker will not
report any data (a) covering time periods before an order is received, (b) on
nansactions that were settled and/or cleared but not executed by Clearing Broker, or
(c) for transactions that were cleared through another clearing broken Correspondent is
required to file a “new order report” detailing the time the order was entered by
Correspondent and a “route report” indicating the time the order was sent to Clearing
Broker in order to satisfy Correspondent’s OATS requirements Unless Correspondent
is otherwise required to do so by applicable laws or regulations, this Agreement shall
not impose a supplemental duty on Correspondent to Ele such ‘hew order reports” on
trades executed by Correspondent

2.1.17 Incoming and Outgoing Securities. Por securities received, Clearing Broker
shall review names of speciied holder of the security, to detect possible violations of
OFAC restrictions in those circumstances and shall verify the names on the account
and certificates match. No third party receipts or deliveries are permitted Although
Clearing Broker performs such task, this does not alleviate the obligation and
responsibility of Correspondent to perform similar task. Correspondent shall notify
Clearing Broker of any suspicious activity

2.1.18 Bnlletins and Other Informational Memoranda. Clearing Broker shall i'om
time to time issue Bulletins or other informational memoranda to Correspondent
setting forth Clearing Broker's policies and procedures including anti-money
latmdering and terrorist financing Correspondent agrees to become familiar with such
Bullctins and informational memoranda and to abide by them.

2.2 R.ight to Subcontract. ln performing the Services, Clearing Broker may contract with
third party data processing, service bureaus or other vendors to provide ancillary or support
services (the “Vendors”). With respect to certain Services designated by Clearing Broker,
Correspondent shall connect directly with Vendors identified by Clearing Broker or as may be
selected by Correspondent and approved by Clearing Broker. Clearing Broker shall not be
responsible for any losses, damages, liability or expenses claimed by Correspondent or
Customers arising from any failure to perform, en'ors, omissions or delay, inadequacy or
insufficiency of performance by any Vendor whether such Services are performed pursuant to an
agreement between Vendor and Clearing Broker or Vendor and Correspondent Upon
Correspondent’s reasonable request, Clearing Broker will cooperate with Correspondent in
asserting such rights as Clearing Broker may have pursuant to contracts with the Vendors.

 

 

2.3 Limitatjons and Restrictions.

2.3.1 Clearing Broker exerst reserves the right, in its sole discretion, to limit and
restrict any of the Services including, without limitation, by rejecting any order or

._~¢ .__

 

ALPINE_LIT167393

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 9 of 33

transaction for any Account, by refusing to execute, clear or settle any Transaction, to
carry or to continue to carry any Account.

2.3.2 Clearing Broker may liquidate any and all Transactions or collateral held in an
Account in the following circtnnstances: (i) upon the request of Correspondent; (ii)
upon the death, incapacity, insolvency, or bankruptcy of Customer where Customer has
a balance due Clearing Broker", (iii) upon a Customer’s failure to honor any obligations
with respect to Transactions, the Account; (iv) in the event failure to do so would result
in a violation of the Appl.icable Rules; or (v) Clearing Broker in conjunction with
Correspondent detennines to do so.

2.3.3 Unless otherwise expressly agreed to in a writing signed by both parties,
Clearing Broker shall not be responsible for providing any of the following services: (i)
accounting bookkeeping or record keeping, cashiering or other services with respect to
commodity transactions or other transactions not involving securities; (ii) preparation
of Correspondent’s payroll records, financial statements or any analysis thereof; (iii)
preparation or issuance of checks in payment of Correspondent’s expenses, other than
expenses incurred by Clearing Broker on behalf of Correspondent; (iv) payment of
commissions, salaries or other remittances to Correspondent’s salespersons or other
employees or agents; (v) preparation or filing of any of Correspondent’s reports to the
SEC or any state securities commission or any Exchange, provided, however, that
Clearing Broker will, at the request of Correspondent, fumish Correspondent with any
necessary information contained in records kept by Clearing Broker and not otherwise
available to Correspondent for use in making such reports; (vi) delivery of
prospectuses or other disclosure documents required pursuant to App]icable Rules
other than disclosures required to be made pursuant to PJNRA Rule 3230 or any
similar rule of any Exchange, or SEC Rnle 10b-16, (vii) making and maintaining
reports and records required by the Currency and Foreign Transactions Reporting Act
of 1970, as amendcd, and the regulations thereunder, or any other similar provisions
within the Applicable Rules; (viii) verihcation of address changes of Customers; and
(ix) any other function, task or service not speciically allocated to it in this Agreement.

2.3.4 Clearing Broker shall cooperate with Correspondent in sharing information
regarding Customer transactions that may involve suspicious activity provided,
however, Clearing Broker is entitled to tile such suspicious activity reports as the
Clearing Broker in its sole discretion believes are necessary and nothing contained
within this Agreement shall require Clearing Broker to provide Correspondent with any
report Clearing Broker is prohibited by law nom sharing or to provide Correspondent
with any information regarding a suspicious activity report in which Correspondent is
identided as being engaged in activity suspected of violations of any law or regulation

°__HS?SMWommnsm-Me'$ecmi&erhv$wr?mwcuon$etoHM-md-me__-
SEC’s financial responsibility rulcs, Customer Accounts shall be considered to be
accounts of Clearing Broker and not of Correspondent Noth.ing in this paragraph will
otherwise change or affect the provisions of this Agreement that provide that Customer
Accounts remain Correspondent customer accounts for all other purposes including but
not limited to supervision, suitability and indemnification

 

ALPINE_LIT167394

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 10 of 33

2.3.6 If Correspondent directs Clearing Broker to enter into any transaction to be
eE`ected on any securities exchange or in any market on which transactions are settled
in foreign currency, (i) any pro£t or loss arising as a result of a fluctuation in the rate of
exchange between such currency and the United Sates Dollar shall be entirely for
Correspondent’s account and rislc, (ii) all initial and maintenance margin required or
requested by Clearing Broker shall be in the currency required by the applicable
marketplace or clearing agency in such amounts as Clearing broker in its sole discretion
may require, and (iii) Clearing Broker is authorized to convert funds in the Accounts
into and :fi'om such foreign currency at rates of exchange prevailing at the banking or
other institutions with which Clearing broker normally does business

2.4 No Extensioo Of Credit

2.4.1 No Margin Transactions. Alpine shall not permit customers of Correspondent to
purchase securities on margin and all transactions for a customer will be cash
transactions

2.4.2 Uusecured Debits or Unsecured Short Positions. Alpine shall charge against
the account of Correspondent an amount equal to the value of any unsecured debit or
short position (on a “mark to market” basis) in a customer account if that position has
not been promptly resolved by payment or delivery. Any remaining debit shall be
charged against Broker’s Deposit Account and be considered a claim against Broker
pursuant to Paragraph 6.4 of this Agreement.

Section 3. Emctlons and Obligations of Correspondent

Correspondent shall perform the following imctions and obligations with respect to the
Accounts:

3.1 Customer Accounts

3.1.1 Opening and Approving of Accounts. Correspondent shall open and approve an
Account for each Customer only upon obtaining, verifying and retaining crm-rent and
correct docum-tation containing the iinancial and personal information and
agreements for each Accormt (“Acoount Doouments”) required by the Applicable
Rules. Correspondent shall introduce the Accounts for acceptance by Clearing Broker
by finishing to Clearing Broker the basic information required to open the account
(including, without limitation, compliance with Correspondent’s Chlstomer
Identiiication Program as well as standing instructions representative number and such
other information or agreements as Clearing Broker may deem necessary to perform the
Services) and such Account Documents as Clearing Broker may require. Correspondent
_____shaH-prompdy-iinnish-te-€deanng-Brekor-any-ohangas-er-eoneedens-te-the-Aeseunt_-_
information or Account Documents necessary to keep such mfonnatlon and Account
Docmnents current and correct Correspondent is responsible for learning and
documenting all the facts relative to every Customer necessary to insure compliance by
Correspondent with Applicable Rules, including the information and instruction
submitted to Clearing Broker pursuant to this Agreement, and additional facts relative

 

ALPINE_LITI 673 95

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 11 of 33

to the Customer‘s investment objectives, and to the nature of every Customer Account,
every order and every person holding power of attorney over any Customer Account
Correspondent shall he solely responsible for any issues regarding the suitability of any
investments for its Customers.

An authorized officer and principal of Correspondent shall accept and approve each
Customer and Customer Account. Each Customer and Customer Account shall be
subject to Clearing Broker’s acceptance Clearing Broker reserves the right to withhold
acceptance of, or to rcject, for any reason, any Customer, Customer Account,
Correspondent Account or any transaction for any Account and to terminate any
Account previously accepted by Correspondent for any reason. Prior to acceptance of
any Account, no action taken by Clearing Broker or any of its cmployees, including,
without being limited to, clearing a trade in any Account, shaJl be deemed to be or shall
constitute acceptance of such Account.

The Customer Identiiication Program established and maintained by Correspondent
shall require at a minimum the information specified for each Customer and records
verifying the information as required by the Applicable Rules of the United States
Department of the Treasury. Correspondent will not establish or maintain specially
coded or numbered accounts Correspondent will not open Customer Accounts in
jurisdictions where it is not appropriately registered Correspondent shall undertake
reasonable efforts to ascertain that the Customer is not engaged in milaw'ful activities,
the assets being invested have been legitimately obtained, and any disbursements to a
customer or third party are for legitimate purposes Correspondent shall annually
provide Clearing Broker with copies of its independent audit of its and-money
laundering program and Customer Identiiication Program. Correspondent shall have a
duly authorized principal represent, in wliting, the above have been completed on each
Customer Account.

Correspondent shall notify Clearing Broker of any Customer Account being set up
where the customer has had or beeu:

a) The subject of any order, judgment, or decree of any court permanently or
temporarily enjoining the Customer nom acting as an investment adviser,
underwriter, broker or dealer in securities, or an aHiliated person, director, or
employee of any investment company, bank, savings and loan association, or
insurance company or ii'om engaging in or continuing any conduct or practice in
connection with any such activity or in connection with the pm'chase or sale of
any security or was the subject of any order of a federal or state authority baning
or suspending for more than 30 days his or her right to be engaged in any such

' ' cas cia ' osen ' an suc activi whichorder

`_has'not~been-reversed-crsuspendcd.

b) Involved in any lawsuit or proceeding in which it was alleged that he or
she engaged in any ii:audulent conduct

 

10

 

ALPINE_LITI 67396

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 12 of 33

c) Found by a court in a civil action or by the Securities and Exchange
Commission (the “Commission”), state agency or other governmental body to
have violated any federal or state securities law, and the judgment in such civil
action or iinding by the Commission has not subsequently been reversed,
suspended, or vacated Additional, if such Customer has been charged or alleged
by such governmental agency to have violated such laws or committed fraudulent
acts.

Correspondent hereby agrees and acmewledges that it is obligated to comply with
restrictions and conditions on opening and accepting certain Accounts, including but not
limited to, the following:

a. Non-Rcsident Alien Accounts Carried Direct_ly or Through an lnvestment
M-
For any Account opened for a non~resident alien, Correspondent must record
the customer’s passport number and obtain a copy of the government
document used to verify the individual’s identity at the time the Accormt is
opened Correspondent must also obtain a copy of a passport or other
governmental identification for any of the following: the grantor/settlor of a
foreign trust; and any beneiicial owner of an offshore corporate account if:
(l) the account is a personal holding company cr private investment company;
or (2) the beneficial owner of the entity which maintains the account holds
more than a 10% interest in the entity. Correspondent may not open any
Accormt for a personal holding company or private investment company if
one or more beneficial owners are U.S. persons With respect to those
Accounts involving investment advisers, Correspondent will conduct a
sufficient inquiry to obtain, record and verify information as outlined above
about the advisor’s customer, including ascertaining the identity of each
beneficial owner, of any such Account prior to opening the Account unless
Correspondent has ascertained that the investment adviser meets the exception
set forth in SEC No Action letter dated February 13, 2004 relating to reliance
on investment advisers or other SEC guidance applies

b. Shell Banlr Accounts, Foreigg §ank Accoun§ and gm ate Banking

Accounts,

Cor:respondent, working in conjunction with Clearing Broker, shall implement
the provisions of sections 312, 313, and 319 of the USA PATRIOT Act.
Copies of all certitications obtained by Correspondent shall be promptly
forwarded to Clearing Broker. In this connection, Correspondent will detect
Accounts for unregulated shell banks through its CIP and through ongoing

 

 

mnnitcgg of Transactions. Upcn finding or suspecti_ng such Accome

 

 

verified Account for an unregulated foreign shell bank. Correspondent will
require its foreign account holders to complete the model certiiications and re-
certifications as issued by the U. S. Treasury, Correspondent will review
Accormts to determine whether it offers any "private banking” Accounts and

ll

 

ALPINE_LIT167397

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 13 of 33

will conduct due diligence on such Accounts. Correspondent will also review
public information to determine whether any “private banking” account
holders are “senior foreign political figures”. IfCorrespondent discovers that a
particular “private bank:ing” account holder may bc a “scnior foreign political
iigure”, it will conduct additional enhanced due diligence and report
transactions that may involve money laundering

3.1.2 Confidentiality of Customer Information Correspondent shall maintain the
confidentiality of all non-public personal information provided with respect to the
Customer and shall provide for adequate security and integrity of the records regarding
such customer information in accordance with the Applicable Rules. Con'espondent
shall provide each Customer with a notice regarding its privacy policies and
procedures in accordance with Regulation S~P cf the SEC upon the opening of the
Account and annually therea&er.

3.2 Execution of Trades, Confirmations and Periodic Statements. Correspondent may
forward Customer orders and instructions for Transactions to Clearing Broker for execution
pursuant to Section 2.1.2. If Correspondent executes Transactions “away” from the Clearing
Broker, or if Correspondent provides specidc instructions to Clearing Broker with respect to
order routing, Correspondent will comply with all Applicable Rules concerning best execution
and disclosure to Customers of order routing cr payment for order ilow. Correspondent shall
provide Clearing Broker with all necessary information to generate and mail directly to
Customers confirmations with respect to any and all Transactions and periodic statements with
respect to the Accormt. Con'espondent understands and agrees that all coniirmations and periodic
statements shall indicate that the Account is carcied, and 'l‘ransactions are cleared and settled, by
Clearing Broker. lt is understood that Clearing Broker shall accept, without any inquiry or
investigation all directions ii'om Correspondent as agent of each Customer, regarding
Tra.nsactions in Accounts, and any other instructions ii'om Correspondent as agent of each
Customer, concerning Accounts or the property therein, including the transfer of funds to third
parties except as such instructions may conflict with the Clearing Broker’s rights and obligations
under this Agreemslt.

3.2.1 Examination and Noti§cation of Errors. Correspondent shall examine all
coniirmations, statements, and other reports in whatever medium provided to
Correspondent by Clearing Broker. Correspondent must notify Clearing Broker of any
error claimed by Correspondent in any accormt; as to purchase and sales transactions
prior to settlement date and as to all other transactions within the time in which
Clearing Broker is able to, without violating applicable law, reverse the transaction If
Correspondent fails to do so, Correspondent shall be deemed to have waived its right
to make any claim against Clearing Broker with respect to such error.

 

ag Rts@sibdity'fcrErrms'w*EncndnnF€mrespmdent*slm£-beresponsd)ie-_
for transmission to Clearing Broker of all orders and for any errors in the
Correspondent's recording or transmission of such orders.

3.3 Disclosure to Customers. Correspondent shall provide to ('hrstomers any disclosures
and obtain any agreements horn its Customers as required by the applicable rules, including,

12

 

ALPINE_LIT167398

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 14 of 33

without limitation, any disclosures or agreements required for listed options, penny stocks,
derivative securities, account transfers or conversions. The cost of making such disclosures or
obtaining such agreements shall be borne by Correspondent Without limiting the generality of
the foregoing, Correspondent shall advise Customers in writing upon the opening of an Account
and at least annually thereafter that they may obtain information about the Securities lnvestor
Protection Corporation (“SIPC”), including the Sll’C brochure, by contacting SIPC, and shall
also provide the website address and telephone number of SIPC.

3.4 Supervision of Accounts. Correspondent acknowledges that Clearing Broker’s
relationship with Correspondent and with Customers shall be strictly limited to the provision of
the Services hereunder and that Clearing Broker shall only perform and be responsible for such
Services. Correspondent shall have the exclusive responsibility for ascertaining the investment
objective of each Customer, “knowing the Customer,” the suitability of Transactions effected for
Customcrs, and Clearing Broker shall have no such responsibility with respect thereto.
Correspondent shall have the exclusive responsibility for compliance with Rule 2310 of the
FINRA with respect to each Account and every order, Transaction or insn'uction. Correspondent
has established and maintains, and shall have exclusive responsibility for adherence to,
compliance and supervisory procedures adequate to assure compliance by Correspondent, its
agents, servants and employees with the Applicable R.ules and this Agreement, which procedures
for supervision include provisions with respect to: (i) the opening, approving and monitoring of
Accounts including the suitability of Transactions; (ii) the reasonable basis for recommendations
made and investment advice and investment strategies provided to Customers; (iii) the orders
and execution of orders for Transactions in compliance with Customer instructions; (iv) the
frequency of trading in the Accounts, whether or not such Transactions are instituted by
Correspondent, its partners, ofticers, employees or any registered investment adviser; (v)
discretionary Accounts; (vi) restricted Accounts as denned by the Applicable Rules; (vii)
compliance with restricted or control stock requirements of the Applicable Rules; (viii) securing
and transmitting orders in a form and format as specified by Clearing Broker; (ix) compliance
with mutual hand prospectus requirements regarding purchase and sale activity; (x) oversight of
Customer trade activity with regard to potential market manipulation; (xi) Regulation SO
requirements and monitoring; and (xii) the appropriateness of opening a Customer Accoimt
based on the Customer’s backgron

3.5 Customer Payments. While each Customer is directly responsible to Clearing Broker
with respect to payment for all securities purchased, and for the delivery of all securities sold, for
his or her Account, Correspondent shall be responsible for obtaining ii'om each Customer such
hinds or securities as are required to be deposited or maintained in Accounts, Correspondent
shall be responsible to Clearing Broker for payment for securities purchased in the Accounts
until actual and complete payment therefor has been made. Correspondent shall be responsible to
Clearing Broker for delivery of securities in the Accounts tmtil acceptable deliveries of such
securities have been completed. Correspondent shall promptly transmit all funds and promptly

 
 

 

Clearing Broker. Correspondent shall deposit in banlr accounts established for the benefit of
Clearing Broker prior to the close of business on the day of receipt all funds and checks received
by Correspondent with respect to any Account as specilied by Clearing Broker to enable
Clearing Broker promptly and properly to record such remittances and receipts in the Account.
Correspondent shall send all securities received by it to Clearing Broker by overnight delivery

13

 

ALPINE_LIT167399

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 15 of 33

service on the day of receipt, or as specified by Clearing Broker. Correspondent is responsible
for and the timely payment of all Account Debits, interest and other charges incurred in an
Account. Correspondent is also responsible to Clearing Broker for the collection of flmds or
securities required to settle any Transactions. If requested by Clearing Broker, Correspondent
shall promptly transmit for funds or securities to settle Transactions or pay Account Debits.
Correspondent shall be liable for any loss, liability, damage, cost or expense (including but not
otherwise limited to fees and expenses of legal counsel) incurred or sustained by Correspondent
or Clearing Broker, or both, as a result of the failure of any Customer to timely make payments
or deposits of securities to satisfy Account Debits, or settle Tranaactions. In its sole discretion at
any time, Clearing Broker may effect a “buy-in” or “sell-out” of a Transaction or liquidate an
Account Debit and collect from the Customer any de£ciency resulting from the “buy-in” or
“sell~out” or liquidation Clearing Broker may charge interest to Correspondent on any resulting
Account Debits.

3.6 Waiver of Procedures. Subject to the Applicable Rules, Con'espondent may request
Clearing Broker to alter or waive compliance with any one or more of Clearing Broker’s
practices or policies with respect to one or more Accounts or Transactions, which waiver may be
granted or denied in Clearing Broker’s sole discretion Upon making a request for waiver,
Correspondent undertakes to reimburse, indemnify and hold harmless Clearing Broker £'om any
loss of any kind that may result from such waiver and the accommodation of the request by
Clearing Broker.

3.7 Validity and Authority of Information. Correspondent shall obtain and maintain the
necessary documents, information, systems and interfaces with Clearing Broker’s systems in
order to perform the functions and obligations allocated to Correspondent pursuant to this
Agreement. Correspondent represents and warrants to Clearing Broker that: (i) all Accounts,
orders, Transactions, instructions, Account Debits established entered, incmred or maintained
have been duly and validly authorized and are legally binding and enforceable according to their
terms against the Customer; (ii) all securities delivered by a Customer or Correspondent to
Clearing Broker are genuine, will be in good delivery form, iiee of liens, claims and
encumbrances and have not been reported lost, missing or stolen; and (iii) all documents
delivered to Clearing Broker will be genuine and duly executed by the parties named therein

3.8 Customer Correspondence. All Customer conespondenoe shall be reviewed,
responded to and resolved by Correspondent; provided, however, that to the extent any Customer
correspondence contains any inquiry or complaint relating to Services provided by Clearing
Broker, Correspondent shall promptly provide Clearing Broker with copies of the
correspondence Clearing Broker shall cooperate with Correspondent by providing such
information and copies of documents and records as are reasonably necessary for Correspondent
to respond to such Customer.

____S$_Mgodame'hstmenmdn~memvahm-me-Semwspmmdedmwem-M-Mew_-~
Correspondent to issue to Customers negotiable instruments such as draiis or checks, for which
Clearing Broker is the drawer or maker, Correspondent shall have provided to Clearing Broker
supervisory procedures satisfactory to Clearing Broker with respect to the issuance of such
instruments and hereby represents and covenants that it shall maintain and shall enforce such
supervisory procedures relating to such instruments

14

 

ALPINE_LIT167400

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 16 of 33

3.10 DVP/RVP and Prime Brokerage Transactlon.

3.10.1 Con'espondent agrees that all Customers who engage in delivery versus payment
(“DVP”) or receipt versus payment (“RVP”) transactions (and their agents) will utilize
the facilities of a securities repository for the connrmation, acknowledgment and book
entry settlement cf all depository eligible u‘ansactions, subject to the exceptions of the
Applicable Rules with respect to all DVP/RVP transactions, except for the delivery of
conirmations.

3.10.2 Correspondent shall not engage in any prime brokerage transactions without the
prior approval of Clearing Broker.

3.10.3 Correspondent agrees that all transactions where Correspondent acts as an
executing broker for Accounts that utilize a prime broker (“Prime Brokerage
Customers"), shall be conducted m accordance with the requirements of the SEC No-
Action Letter, dated lannary 25, 1994 (the “SEC No-Action Letter").

3.10.4 Correspondent shall notify Clearing Broker with respect to each Prime Brokerage
Customer for which Correspondent intends to act as an executing broker and
Correspondent shall be solely responsible for conducting its own credit review with
respect to such Pn'me Brokerage Customer. Correspondent shall promptly notify
Clearing Broker, but in no event later than 3:00 p.m. Bastern Standard Time of trade date,
in a mentally acceptable fashion of such trades in sufficient detail for Clearing Broker to
be able to report and transfer any trade executed by Correspondent on behalf of a Prime
Brokerage Customer to the relevant prime broken Correspondent understands and agrees
that if the prime broker shall disafErm or DK any trade executed by Correspondent on
behalf of a Prime Brokerage Customer, Correspondent shall, if it has not already done so,
open an Account for such Prime Brokerage Customer and shall transfer or deliver the
trade to such Account for the risk and expense of Correspondent to the same extent as for
any Account introduced by Correspondent pursuant to this Agreement. Conespondent
understands and agrees that for certain Prime Brokerage Customers, Clearing Broker may
act as both Clearing Broker and prime broker (the “Prime Broker”].

3.10.5 Correspondent agrees to indemnify and hold harmless Clearing Broker and its
controlling persons, oflicers, directors, agents, servants and employees from and against
costs, losses, claims, liabilities, iines, penalties, damages and expenses (including
reasonable attorney and accountant fees) arising out of or resulting from Correspondent’s
activities as an executing broker.

3.11 Reporting Obligations. Correspondent is responsible for tiling all currency
transaction reports and suspicious activity reports, including form SAR-SF, cash nansaction

-momw$@msucnommepm.mmurdm££omspmdmmmamwmphm_

P
toe tile any SAR-SF regarding a Customer, shall share information with Clearing Broker
information regarding the transactions and shall provide a copy of any SAR-SF iled regarding a
Customer to Clearing Broker. Correspondent shall share with Clearing Broker all CTR filings
and any other reports Eled with regulatory authorities regarding cash and currency transactions

 

15

 

ALPINE_LIT167401

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 17 of 33

unless such sharing or communications regarding such reports are prohibited by law. In any
event , if Correspondent identiies transactions covered by the above reports or it deems
suspicious, Correspondent shall notify Clearing Broker of such transactions on or Customer
Accounts even if no report is filed or they cannot provide such report because of legal
requirements

3.12 Underwriting; Syndicates. Provided Correspondent is eligible and has the
requisite regulatory authority pursuant to Applicable Rules to engage in securities transactions as
an underwriter, Correspondent shall inform Clearing Broker in writing which securities
Correspondent intends to act as underwriter, or as to which Correspondent intends to enter into,
orjoin, a syndicate (whether as part of the undermining or selling group) relating to the issuance
or placement of those securities Clearing Broker shall have the reasonable right to limit or
prohibit Correspondent's underwriting or syndicate activities with respect to any security.
Clearing Broker may impose certain conditions upon Correspondent's serving as an underwriter
or its participation in any syndicate

3.13 Marketmaking. Upon the execution of this Agreement, Correspondent shall
provide to Clearing Broker a written list of all securities with respect to which Correspondent is a
marketinakcr. Correspondent shall give prior written notice of any proposed changes in its
marketinaldng activities Correspondent shall provide Clearing Broker on a timely basis with
information regarding any changes in its market-making secm'ities suMcient to ensure that any
conErmations sent to Customers by Clearing Broker on Correspondent's behalf contain correct
information regarding Correspondent's role in the transaction Clearing Broker shall have the
right to limit or prohibit Correspondent's markennaking activities with respect to any security
and to demand an additional deposit to tlie Deposit Account pursuant to Section 6.2 with respect
to any market making activities of the Correspondent

3.14 Secondary Correspondents. Correspondent covenants that it shall not, without
the prior approval of Clearing Broker, enter into or execute any agreement with another broker-
dealer, including an affiliated broker-dealer (each, a “Secondary Broker-Dealer”), which would
have the e&`ect of extending to such Seconda.ry Broker-Dealer any service or product provided by
Clearing Broker to Correspondent Correspondent further understands, acknowledges and agrees
that (i) it bears sole responsibility for satisfying any additional or supplementary regulatory
requirements relating to entering into a relationship with the Secondary Broker-Dealer,
including without limitation, the obligation, if any, to obtain the prior approval of the
Correspondent’s designated examining authority, the Secondary Broker-Dealer’s designated
examining authority, or both, and (ii) Clearing Broker may require that Correspondent accept
additional responsibilities or obligations as a condition of its consent to allow such Secondary
Broker-Dealer to receive such services and products through or with Correspondent including,
without limitation, that Correspondent guaranty the obligations of such Secondary Broker-
Dealer, or that Correspondent increase the amount of the deposit required under section 6. 2 of

 

 
 

 

is established will conform to the requirements of Rules 3150 and 3230 These rules requhed'iat
Correspondent maintain the proprietary and customer accounts of any secondary member broker
dealer for which it is acting as an intermediary m such a manner to enable Clearing Broker and
the FINRA to easily identify data belonging to each piggyback account The data must also be
maintained' in a manner that enables Clearing Broker to report data about each piggyback firm

16

 

ALPINE_LIT167402

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 18 of 33

separately from the data about Correspondent

3.15 Use of “Alpine Securities” or “Alpine” Name. Each and every use by
Correspondent of any of the names “Alpine Securities” or “Alpine”, or the name of any afnliated~
entity of Clearing Broker, or any abbreviation or acronym relating to or made up from any of
these names, or any amended name based on or derived f:om any of these names, in any external
communication from Correspondent including, without limitation, any marketing materials,
client communications, account documents, or usage in a proprietary or non-proprietary web-site
cr other Intemet usage, shall be submitted to Clearing Broker prior to use for review and
approval. Clearing Broker reserves the right to withhold its consent to any such usage, or to
restrict or place conditions on such usage.

3.16 Amendments to Form BD. Correspondent shall provide Clearing Broker with at
least one written copy of each material amendment, modification or change to Correspondent’s
Form BD at least (i) EReen (15) days before its effective date or (ii) no later than the time of its
submission to the appropriate regulator. Correspondent shall provide copies of any regulatory
notice to Clearing Broker at the same time it is transmitted to the appropriate regulator.

3.17 Disciplinary Action, Suspensicn or Restriction. If Correspondent becomes
subject to disciplinary action, suspension, or restriction by a federal or state agency, stock
exchange, or regulatory or self regulatory organization having jurisdiction over Correspondent or
Correspondent’s securities business, Correspondent shall notify Clearing Broker immediately,
orally and in writing, and provide Clearing Broker with a copy of any decision relating to such
action, suspension, or restriction Correspondent shall reimburse Clearing Broker for the fees
and expenses associated with any legal advice Clearing Broker may seek with respect to the
eEect of such action, suspension, or restriction on the rights and obligations of Clearing Broker
under this Agreement. Clearing Broker may take any action it reasonably deems to be necessary
(i) to assure that it will continue to comply with all applicable legal, regulatory, and self-
regulatory requirements notwithstanding such action, suspension, or restriction, and (ii) to
comply with any requests, directives, or demands made upon Clearing Broker by any such
federal or state agency, stock exchange, or regulatory or self-regulatory organization In
addition, Correspondent shall notify Clearing Broker of any pending “on-the-reco ” interviews,
FlNRA, SEC or other regulatory request covering any security or Customer Account which is
held at Clearing Broker or has previously been at Clearing Broker. Correspondent shall
reimburse Clearing Broker for the fees and expenses associated with any legal advice Clearing
Broker may seek with respect to the effect of such action, suspension, or restriction on the rights
and obligations of Clearing Broker under this Agreement. Correspondent shall provide Clearing
Broker regular updates on any of the above matters but in no event more than ive days alter
receiving additional information Failure to notify Clearing Broker shall be a material breach of
this Agreement.

 

 

Section .4. Representations and Warranties

The parties make the following representations and warranties:

17

 

._-..-~ ______ ._.»-.. ...".. -

ALPINE_LIT167403

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 19 of 33

4.1 Organization. Each party is duly organized and in good standing under the laws of the
jurisdiction pursuant to which it was formed and is qualiiied to do business in each state in which
it does business and is required to qualify.

4.2 Power and Authority. Each party has the requisite power and authority to enter into,
execute and perform its obligations under this Agreement and, when so executed and delivered,
this Agreement shall constitute a legal, valid and binding obligation enforceable in accordance
with its terms

4.3 Registration. Each party and its employees, when so required, are registered as a
broker, dealer or agent under the applicable state “blue sky” laws and the Exchange Act and is a
member in good standing of the F]NRA and any Exchange of which it is a member.

4.4 Net Capital and Financial Reporting. Each party is in compliance with and maintains
in excess of the minimum net capital required by Rule 1503-1 under the Exchange Act and is in
compliance with the capital and financial reporting requirements of the FIINRA as well as all
capital requirements of every state in which it is registered as a broker or dealer.

4.5 Compliance and Litigation. Each party, its oflicers, directors, agents, employees and
servants are in material compliance with all Applicable Rules.

4.5.1 Correspondent further represents and warrants that, except as set forth in a letter
of even date herewith, there is no claim, action, proceeding, investigation or inquiry
pending or threatened before any court, tn`bunal, administrative judge or hearings
officer alleging a violation of an Applicable Rule, or seeking suspension or
cancellation of its broker or dealer registration with any state or the SEC or its
membership in any Exchange or the FlNRA.

4.5.2 Correspondent further represents and warrants that, except as set forth in a letter
of even date herewith, there is no claim, action, proceeding or arbitration pending or
threatened in any court or tribunal seeking damages in excess of $ 10,000.

4.6 Anti-Money Lanndering Programs Each party has established and maintains an anti-
money laundering program consisting of (i) written internal policies, procedures and controls
designed to prevent and detect money larmdering activity and suspicious currency or securities
transactions that could facilitate money laundering activities, (ii) designation of a compliance
officer to monitor the program, (iii) continuing training to employees regarding and-money
laundering, and (iv) independent audit functions to annually test its anti-money laundering
program.

4. 6. 1 Correspondent further represents that it has written policies and procedures
establishing a customer identification program to verify the identity of Customers,

 

identrication information and such other identifying information required by Applicable
Rules and consulting and comparing all proposed Customers against the OFAC list.

4.6.2 Each party will take such special measures as it may deem appropriate with respect
to any foreign jurisdiction1 institution(s), class(es) of transactions, or type(s) cf

18

ALPINE_LIT167404

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 20 of 33

account(s) designated by the U. S. Treasury Department to be of “primary money
laundering concem” in accordance with Section 311 of the USA Patriot Act.

4.6.3 Each party will respond to a FinCen request about accounts or transactions by
immediately searching its records to determine whether it maintains or has maintained
any Account for, or has engaged in any transaction with, each individual, entity, or
organization named in FinCen’s request Upon receiving an infonnation request, the
party will designate one person to be the point of contact regarding the request and to
receive similar requests in the mone, Unless otherwise stated in the FinCen request, the
party will search current Accounts, Accounts maintained by a named suspect during the
preceding 12 months and Transactions conducted by or on behalf of or with a named
subject during the preceding six months If the party finds a mateh, it will report it to
FinCen by completing FinCen’s subject information form. If the party searches its
records and does not uncover a matching Account or Transaction, then it will not reply to
the Section 314(a) request

4.6.4 Clearing broker represents it has systems designed to comply with the electronic
transfer of funds, speci£cally the “F\mds Transfer Rule” and the “Travel Rule,” 31 C.F.R.
103.33 (i) and (g), when processing disbursements on behalf of Correspondent, Clearing
Broker shall comply with these rules based on information provided by Correspondent

4.7 Reliance. Each party in acting hereunder may rely upon the oral or written
instructions of the oB'icers, agents, employees and servants of the other party.

4.7.1 Correspondent further represents that Clearing Broker may rely on any written
or oral instructions, communications or orders f\n'nished by Correspondent with respect
to any Customer cr Account.

Section 5. Information and Cooperation

5.1 Financial Informatlon. Each party shall promptly iirrnish to the other copies of the
audited financial statements and such other iinancial statements as are required to be iin:nished to
Customers under the A.pplicable Rules. Correspondent shall provide copies to Clearing Broker
simultaneously with filing any financial information Fonn BD (or amendments thereto) or other
reports with the FlNRA., or the SBC, including but not otherwise limited to, monthly and/or
quarterly, whichever is applicable, inancial and operational combined uniform single reports
(“FOCUS Reports”), and shall provide Clearing Broker with such other information and reports
cf operations and Enancial condition as Clearing Broker may request

5.2 Litigation and Claims. Promptly after Correspondent knows or has reason to believe it
is the subject of any claim, action, suit, proceeding arbitration, investigation or inquiry before

. any courtl tribuLa.la administrative My, Bxchange, FlNRA, or private arbitration panel
-_-_aHegiag-a-v=iela§en-ef-tlae-Appheable-Rnles-or
registration or license of Correspondent or damages' m excess of $10, 000, Correspondent shall

furnish Clearing Broker with any answer or responsive statement submitted by Correspondent to
such claims, and any other inforrnation, including without limitation, a copy of the summons and
complaint, if any, which Clearing Broker may request Clearing Broker retains the right to assess

 

 

19

 

ALP[NE_LIT167405

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 21 of 33

out of pocket costs to Correspondent if it becomes necessary for Clearing Broker to obtain legal
assistance as a result of such actions noted above.

5.3 Cooperatlon. Bach party shall cooperate with the other and provide the other with all
appropriate data in its possession pertinent to the proper performance of any iimction, obligation
or Services allocated pursuant to this Agreement. Correspondent shall make available to Clearing
Broker, its attomeys, accountants and authorized agents such Account Documents, books and
records or other information as necessary to comply with the Applicable Rules or to defend
against any allegation of a violation of an Applicable Rule.

5.4 Advertising. Correspondent shall not advertise or make any public statement with
respect to this Agreement, the Services or the existence of any relaiionship with Clearing Broker
without the prior written consent of Clearing Broker. Correspondent shall not make this
Agresment or any document, schedule or information incorporated by reference available to any
third party except as required by the Applicable Rulec.

5.5 Confidentiality. Each party shall use its best eforts to prevent unauthorized access to,

or disclosure of, and shall keep conidcntial, any information received pursuant to this

Agreement which is private, confidential or proprietary in nature to the other party and is not

otherwise publicly available, including, without limitaticn, any information relating to a party’s

existing or prospective retail or institutional businesses and clients, including, without limitation,

information relating to business strategies and concepts, information relating to clients’ accounts,

the narues, address, age, financial infonnation, and all other information in the possession or

under the control of a party pertaining to client accounts, and all documentation and other

tangible or intangible discoveries, ideas, concepts, soilware, customer lists of any type or nature,

research reports, designs, drawings, specifications techniques, models, information sorn'ce code,

object code, diagrams, flow charts, procedures, and “know-how” owned by a party. This shall

; not preclude disclosing information required for the performance of the Services or obligations

l required by this Agreement, or as required under the Applicable Rules (“Disclosure Requests”).

Upon receiving notification of a Disclosure Request, a party will notify the other party unless
expressly prohibited under Applicable Rules.

Section 6. Payment and Deposit Accounts

6.1 Deposit Account. Upon execution of this Agreement, Clearing Broker shall establish

an Account for, and in the name of; Correspondent entitled the “Deposit Account”.

a:_é_ Correspondent shall deliver to Clearing Broker for deposit to the Deposit Account cash equal to
the Minimum Balance of mundred fifty thousand dollars ($150,000) as set forth at the end of

this Agreement. Clearing Broker shall not be obligated to perform any of the Services at any

time that the aggregate fair market value of the Deposit Account is less than the Minimum
Balance. Correspondent shall be obligated to deposit additional cash or secm'ities acceptable to

. ..a _e _li

 
  
 

  
  
 
 

  
 
 

 
       

 
  
   

l

a » ~ -‘,_r..- - ~.-ent,_-_--_
may require the Minimum Balance to equal the aggregate of all obligations for which indemnity
may be sought by Clearing Broker pursuant to Section 9.

 

>

ALPINE_LIT167406

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 22 of 33

6.2 Nature of Deposit Account. The Deposit Account is not part of the capital of Clearing
Broker, does not constitute a partnership or equity interest in Clearing Broker, will not be
subordinated to the claims of the creditors of Clearing Broker, unless specifically agreed to in
writing by the parties. Clearing Broker may use the iimds and securities in the Deposit Acco\mt
in the course of its business and shall not be obligated to pay Correspondent any fee or interest
received on or derived from such use.

6.3 Clearing Broker Rights to Accounts. For any claim Clearing Broker may have
against Con'espondent or any Customer or Account, Con'espondent grants Clearing Broker a
continuing security interest and general lien upon the Deposit Account and Payment Account,
and acloiowledges Clearing Broker shall have a right of seto&` against any Accounts to the extent
of any Account Debit or claim. lo connection therewith, Correspondent further grants Clearing
Broker a security interest and right of setoff against all the moneys, securities and other property
belonging to Correspondent in the possession or control of Correspondent or a financial
intermediary for the account of Correspondent and authorizes Clearing Broker to perfect such
security interest by giving notice thereof to such Hnancial intermediary In the event Clearing
Broker has a claim against Correspondent or against any Account or Customer which has not
been promptly paid, Clearing Broker shall have the tight to satisfy the claim by liquidating any
securities or other property and withdrawing the amount, in any order, horn the following: (i) the
relevant Account; (ii) the Payment Account; (iii) the Deposit Account; and (iv) other secm‘ities,
cash, and property held by Clearing Broker for the Account, Customer or Correspondent
Clearing Broker shall notify Correspondent of any such liquidations and withdrawals

6.4 Disposition upon Termination. Upon the termination or expiration of this Agreernent,
Clearing Broker shall deliver to Correspondent the contents of the Deposit Aceo\mt and Payrnent
Account on or before the 30th day following said tenninat:ion or expiration, less any withdrawals
or deductions made pursuant to this Agreement, and less any amount Clearing Broker deems '
appropriate until a final resolution of any open items, claims or proceedings regarding any
Account.

6.5 Certiiicate Deposits. With respect to any securities’ certificates delivered to the
Clearing Broker for a Chistomer of Con'espondent, an ofhcer and principal of Correspondent
shall verify and warrant (i) that any securities not bearing a restricted legend are fully paid for
and freely tradable; (ii) that Correspondent has no reason to suspect any defect or irregularity
with respect to any securities and any endorsements thereon; (iii) that the securities are free of
any liens and adverse claims, (iv) that the party transferring the securities has legal title to them
or the authority to effect the proposed transfer; and (v) that the regulatory requirements
restricting the sale or transfer of securities that have been deposited, including those with and
without a restrictive legend, have been satisfied or will be satisfied within the appropriate time
frames whether under SEC rules 144 or 145 or otherwise Correspondent shall be solely
responsible for determining if any securities or certiiicates are “reslricwd securities” or “control
__smdé“m'de§nedmy-menmewf-me£BGmd-thawrdm-mwmd`mmwnewdmmrejn_
compliance with Applicable Rules. AdthTllyTC°cTn'e'sp'led'e'nt_sh'all-tndemnify'€tem'ing__
Broker for any errors or omissions, ines, penalties or other iinancial cost associated with the
deposit of certificates

21

 

 

ALPINE_LIT167407

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 23 of 33

Section 7. Compliance with PAIB Provisions

7.1 Compliance with No-Action Letter. In order to comply with the SEC Nc-Action
Letter, dated November 3, 1998 (the “No-Action Letter”), relating to the capital treatment of
assets in the proprietary account of a Correspondent (“PAIB”), and to permit Correspondent to
use PAIB assets in its net capital computations, Conespondent understands, acknowledges and
agrees that it shall identify to Clearing Broker in writing all accounts that are, or nom time to
time may be, proprietary accounts of Correspondent The parties shall continue to adhere to the
terms of the No-Action Letter, including the Interpretations set forth therein, in all respects.

7.2 Computation. Clearing Broker shall perform a computation for PAIB assets (the “PAIB
Reserve Computation”) of Correspondent in accordance with the customer reserve computation
set forth in Rule 15c3-3 (the “customer reserve formu]a”) with the following modii:'lcations:

(a) Any credit (including a credit applied to reduce a debit) that is included in
the customer reserve formula may not be included as a credit in the PAIB reserve
computation;

(b) Note E(3) to Rule 15c3-3a which reduces debit balances by 1% under the
basic method and subparagraph (a)(l)(ii)(A) of the net capital rule which reduces debit
balances by 3% under the alternative method shall not apply; and _

(c) Neither Note B(l) to Rule 1503-3a nor NYSB Interpretation /04 to Item 10
of Rule 15c3-3a regarding securities concentration charges shall be applicable to the
PAIB reserve computation

The PAIB reserve computation shall include all proprietary accounts of Correspondent
All PAIB assets shall be kept separate and distinct from customer assets under the customer
reserve formula in Rule 1503-3. The PAIB reserve computation shall be prepared within the
same time names as those prescribed by Rule 1503-3 for the customer reserve formula.

7.3 Creation of Special Reserve Account. Clearing Broker shall establish and maintain a
separate “Special Reserve Account for the Bxclusive Beneiit of Con'espondent” with a bank in
conformity with the standards of paragraph (i) of Rule 1503-3 (the “PAIB Reserve Account”).
Cash and/or qualified securities as deiined in the customer reserve formula shall be maintained in
the PAIB Reserve Account in an amount equal to the PAIB reserve requirement

7. 4 Deposit Requirement. Ifthe PAIB reserve computation results m a deposit requirement,

 

formula shall not be satisied with excess debits ii'om the PA]B reserve computation

7.5 Failure to Satisfy Deposit Requircment. Upon discovery that any deposit made to the
PAIB Reserve Account did not satisfy its deposit requirement Clearing Broker shall by facsimile

 

ALPINE_LIT167408

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 24 of 33

or telegram, inunediately notify its designated examining authority and the SEC. Unless a
corrective plan is found acceptable by the SEC and the designated examining authority, Clearing
Broker shall provide Correspondent with written noti£cation within five (5) business days of the
date of discovery that PAIB assets held by Clearing Broker shall not be deemed allowable assets
for net capital purposes The medication shall also state that if Correspondent wishes to
continue to count its PAIB assets as allowable, it has until the last business day of the month
following the month in which the notification was made to transfer all P.AlB assets to another
clearing broker. However, if the deposit deiciency is remedied before the time at which
Correspondent must transfer its PAIB assets to another clearing broker, Correspondent may
choose to keep its assets at Clearing Broker.

7.6 Treatment of Commisslons. Commissions receivable and other receivables of
Correspondent from Clearing Broker (excluding clearing deposits) that are otherwise allowable
assets under the net capital rule may not be included in the PAlB reserve computation, provided
that the amounts have been clearly identified as receivables on the books and records of
Correspondent and as payables on the books of Clearing Broker.

Section 8. Fees

8.1 Deduction of and Change in Fees. Clearing Broker shall charge Correspondent and
Correspondent shall pay Clearing Broker, the fees set forth in the attached Fee Schedule.
Clearing Broker shall deduct the fees and all other sums Correspondent owes to Clearing Broker
from the Deposit Accoimt or any other money or property of Correspondent held by or in the
possession and control of Clearing Broker. After the deduction of fees and charges, Clearing
Broker shall pay the balance in the Deposit Account to the Correspondent within ten (10) days
after the final settlement date of each month. In the event that the Deposit Account balance is
insu&cient to cover the balance due the Clearing Broker then Correspondent will settle the
balance due within ten (10) days. Clearing Broker may amend the Fee Scliedule at any time to
add new or expanded Services at prices contained within a notice to Correspondent Et`fective no
sooner than th_irt;y (30) days from the date of this Agreement, Clearing Broker may amend the
Fee Schedule to increase the fees upon thing (30) days’ notice to Correspondent

8.2 Additional Consideration. As additional consideration for performing the Services,
Clearing Broker shall be entitled to retain the benefit of utilizing the funds and securities in the
Accounts and of carrying Account Debits. Except as otherwise agreed by the parties, no interest
shall be paid or credit given for any credit balances which may be lett on deposit with Clearing
Broicer. lnterest income earned through charges on Account Debits in any Account shall be
proprietary to and li1lly retained by Clearing Broker.

Section 9. Indemnification

 

 

persons, oii'icers, directors, agents, servants and employees (the “Indemmfied Part§r”), from and
against costs, losses, claims, liabilities Enes, penalties, damages and expenses (including
reasonable attorney and accountant fees) (individually, a “Claim”, collectively, the “Claims”)
arising out of or resulting ii'om any actual or alleged breach of this Agreement, the enforcement

23

 

ALPINE_LIT167409

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 25 of 33

of this Agreement, or any failure or omission to iiilly carry out any duties or obligations under
this Agreement by the indemnifying party or any breach of any representation or warranty
herein; provided, hcwever, that Clearing Broker shall be liable to indemnify Correspondent only
in the event of Clearing Broker’s willful misconduct or goss negligence In no event will
Clearing Broker be responsible to any person for indirect, incidental, consequential or any
similar da.mages, economic loss or lost profits arising out of any action or inaction by it,
regardless of any notice.

9.2 Notice of Claim. The Tndemni.tied Party shall give prompt notice of a Claim (the
“Notice of Claim”) to the indemnifying party and, When known, the facts forming the basis for
the Claim, and the indemnifying party shall promptly pay such Claim. If a Claim involves any
claim or demand by a third party, the indemnifying party shall be entitled (without prejudice to
the right of any Indemnifted Party to participate at its own expense through counsel of its own
choosing) to defend or prosecute such a Claim at its expense and through counsel of its own
choosing, if it gives written notice to the Indcmniiied Party within nilsen (15) days aner the
Notice of Claim is given. If the indemnifying Pal'\`-Y has assumed the defense of a Claim, the
Indemnified Party shall not settle or compromise such Claim without the prior written consent of
the indemnifying party, which consent shall not be unreasonably withheld; provided, however,
that an Indemniied Party may settle or compromise any Claim without such consent if the
Indenmified Party does not seek mdenmification therefore

9.3 Payment of Expenses. The indemnifying party shall promptly pay the expenses of an
Indernn.iiied Party on a continuing basis in defending against a Claim. All such proper expenses
not paid within thirty (30) days aner an invoice is rendered therefore shall bear interest at a rate
equal to twenty-five percent (2$%).

9.4 Claims not Covered. Clearing Broker shall not be responsible or liable for any Claim
or damages arising out of or caused, directly or indirectly, by a failure to perform, or delay in
performance of any obligations under this Agreement caused by circumstances beyond Clearing
Brolcer’s reasonable control, including without limitation: (i) acts of God; (ii) interruption,
unauthorized entry into, delay in, loss (partial or complete) of computer hardware or son:ware,
data processing system, market data system, order entry system, public utility,
telecommunication service or communication network used by Clearing Broker, whether or not
owned by Clearing Broker, (iii) act of civil or military authority; (iv) sabotage, riot, neutral
emergency, epidemic, war, government action, civil disturbance, explosion, earthquake, Hood,
fire or other catastrophe; (v) strike or other labor disturbance; (vi) Bxchange, FlNRA or
government order, rule or regulation; (vii) energy or natural resource difliculty or shortage; and
(viii) inabilityto obtain matcrials, equipment or transportation

9.5 Survival. The indemnification provisions of this Agreement shall remain operative and
in nall force and effect, regardless of the termination of this Agreement, and shall survive any
l--_-ssash-termitestic:~..

Section 10. Eh`ectiveness and Termination.

 

 

10.1 Effectiveness. Subject to the approval of the F]NR.A and any other self-regulatory
organization or entity as required under the Applicable Rnles, this Agreement shall be eii'ective

 

 

ALPINE_LIT167410

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 26 of 33

as of the date first written below, and shall have an initial term of twelve (12) months (the
“lnitial Tenn”) nom the effective date hereof unless and until terminated as hereinafter provided
in this Section 10. This Agreement will automatically renew for successive periods (each, a
“Renewal Term”) equal to the Initial Tenn tmless it is terminated in accordance with the
provisions of this Section 10.

10.2 Terminat:ion Notice. Subject to the terms and conditions of this Agreement, this
Agrecment may be terminated without cause by either party within ninety (90) days’ prior to the
expiration of Initial Ten'n or Renewal Term of the Agreement by written notice to the other
party. In the event Correspondent terminates this Agreement, Correspondent shall pay the
reasonable expenses of Clearing Broker in connection with transferring converting or closing
the Accounts, Correspondent may terminate this Agreement upon notice given ninety (90) days’
prior to any date established by Clearing Broker for the effective date of an increase in overall
fees by more than ten (10) percent in accordance with Section 8.l.

10.3 Terminatlon upon Default. In the event either party defaults in the perfon:nance of
their respective obligations under this Agreement, the non-defaulting party may terminate this
Agreement by delivering written notice to the defaulting party specifying the nature of such
default and notifying the defaulting party that the default must be cured within the following
thirty (30) days. If the defaulting party fails to cure the default within the prescribed 30~day
period, the Agreement shall be deemed terminated forthwith without further notice.

10.4 Immediate Termination. This Agreement may be deemed terminated immediately in
the event Correspondent or Clearing Broker shall: (i) become or be declared insolv¢lt; (ii)
voluntarily tile or be the subject of a petition commencing a case under any chapter of Title 11 of
the United States Codc; (iii) make a general assig.tment for the beneiit of its creditors; (iv) admit
in writing its inability to pay its debts as they mature; (v) tile an application or consent to the
appointment of, or there is appointed, any receiver, or a permanent or interim trustee of that party
or any of its subsidiaries, as the case may be, or all or any portion of its property, including
without limitation, the appointment or authorization of a trustee, receiver or agent under
applicable law or under a contract to take charge of its property for the purpose of enforcing a
lien against such property or for the purpose of general administration of such property for the
benefit of its creditors; (vi) file a petition seeking a reorganization of its inancial aE`airs or to
take advantage of any bankruptcy, reorganization insolvency, readjustment of debt, dissolution
or liquidation law or statute or file an answer admitting the material allegations of a petition filed
against it in any proceeding under any such law or statute; or (vii) determine that any statement
representation, warranty or covenant made herein or any document provided in connection with
this Agreement shall he, or was at the time made false or misleading in any material respect

10. 5 Termination or Limitations of Services by Clearing Broker. Clearing Broker may
tenninate this Agrecment at any time upon notice to Correspondent m the event Clearing Broker

 

 

financial condition, results of operations of Correspondent or business proiile; (ii) there has been
a material adverse change m the creditworthiness of Correspondent; (iii) the SBC, the FINRA or
other regulatory body have provided notice or, in its sole discretion, Clearing Broker has
determined that continuing one or more Services to Correspondent would result in a violation of

25

 

ALPINE_LIT16741 l

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 27 of 33

any Applicable Rule, or (iv) it has or may have Claims arising out of a breach of the obligations
of the Correspondent under this Agreement, including without ]imitations, those under Sections
3 and 8 hereof, in excess of ninety percent (90%) of the aggregate balances in the Payment
Account and Deposit Account. Clearing Broker may, at its sole discretion, choose to limit the
availability of the Services so as to enable Clearing Broker to limit its exposure to any risks
posed to Clearing Broker by the Accounts. Such limitations on Services may includc, but are not
limited to: 1) the refusal by Clearing Broker to accept additional orders for any Accounts or
restricting orders to liquidating orders only; 2) the refusal to take or make delivery on one or
more Transactions or to Enance such Transactions; or 3) the termination of Clearing Broker’s
relationship with any Accounts, Any determination by Clearing Broker not to terminate this
Agreement pursuant to this Section 10 shall not act as a waiver of Clearing Broker’s rights
hereunder.

10.6 Effect of Termination. Any termination of this Agreement shall not release Clearing
Broker or Correspondent ii'orn any liability or responsibility to the other with respect to
Transactions effected prior to the eH`ective date of the termination, whether or not claims relating
to such tr~ansactions shall have been made before or after the termination

10.‘7 Termination Fee. I.t`, for any reason, Correspondent terminates this Agreement,
Correspondent shall pay certain fees to Clearing Broker, The feel are to include but not be
limited to: (a) the termination fee (the "Termination Fee”) as liquidated damages, and not as a
penalty, specified on the attached Fee Schedule; (b) the expenses of Clearing Broker in
connection with transferring converting or closing the Accounts and (c) the monthly fees due on
the remaining term of the Agreement (the greater of the stated monthly minimum or a monthly
fee based on the average of the trailing twelve (12) months fees). Other fees that may be
appropriate are noted in Schedules A.

In the event that Correspondent is the subject of the issuance of a protective decree pursuant to
the Securities Investor Protection Act of 1970 (15 USC 78aaa-III), Clearing Broker’s claim for
payment of a termination fee under this agreement shall be subordinate to claims of
Correspondent’s customers that have been approved by the trustee appointed by the Securities
Investor protection Corporation pursuant to the issuance of such protective decree

10.8 Conversion of Accounts. In the event that this Agreem-t is terminated for any
reason, Correspondent shall arrange for the conversion of the Accounts to another clearing
broker or to Correspondent if it becomes self-clearing Correspondent shall give Clearing Broker
Notice (the “Conversion Notice”) of: (i) the name of the broker that will assume responsibility
for clearing services for the Accounts; (ii) the date on which such broker will commence
providing such services; (i.ii) Correspondent’s undertaking in form and substance satisfactory to
Clearing Broker, that Correspondent’s agreement with such clearing broker provides that such
clearing broker will accept on conversion all Accounts then maintained by Clearing Broker; and
*_Hm°mmlmedwmdimdmlmr-dendswdnnmewehmmgémm%esgwma§enwom_
, Clearing Broker may contact to coordinate § conversion The Conversion blm
accompany Correspondent’s notice of termination given pursuant to this Paragraph. If
Correspondent fails to give Conversion Notice to Clearing Broker, Clearing Broker may notify
Correspondent’s Customers as Clearing Broker deems appropriate of the terms of this
' Agreement and may make such arrangements as Clearing Broker deems appropriate for the

 

26

 

ALPINE_LIT167412

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 28 of 33

transfer or delivery of the Accounts. The expense of notifying those Customers and making such
arrangements shall be charged to Correspondent

Sec_tion 11. Arbitration

ANY DISPUTE OR CONTROVERSY BETWEEN COR.RESPONDENT AND
CLEARING BROKER RELATING TO OR ARISING OUT OF THIS AGREEMENT
SHALL BE SETTLED BY AR.`BITRATION BEFORE AND UNDER THE RULES OF
FINRA. IN TH.'E EV'ENT THAT FINRA SHALL DECLINE OR REFUSE
JUR.ISDICTION OF SUCH DISPUTE OR CONTROVERSY, THE ARBITRATIGN
SHALL BE CONDUCTED BEFO.`RE AND UNDER THE RULES OF THE AMERICAN
ARBITRATION ASSOCIATION. ANY ARBITRATION HEARING SHALL BE H`ELD
IN SALT LAKE CI'I'Y, UTAH. ANY ARBITRATION AWARD MAY BE ENTERED IN
ANY CDURT OF COMPETENT JU.RISDICTION. CORRESPONDENT AGREES
THAT ALL CONTROVERSIES THAT MAY ARISE BETWEEN CORRESPONDENT
AND THE CLEAR]NG BROKER, INCLDUING, BUT NOT LIMITED TO, THOSE
INVOLVING ANY TRANSACTION IN AN ACCOUNT OR RELATED TO A
CUSTOMER, OR THE CONSTRUCTION, PERFORMANCE, OR BREACH OF THIS
OR ANY OTHER AGREEMENT BET'WEEN THE PARTIES, WHETHER ENTERED
[NTO OR OCCRUIRI.NG PRIOR, ON OR SUBSEQUENT TO TH.E DATE E[EREOF,
SHALL BE DETERM]NED BY ARBITRAION.

CORRESPONDENT UNDERSTAND AND AGREE TH.AT:
A) ARBI'I'RIION IS FINAL AND BINDING ON THE PARTIES.

B) THE PARTIES ARE WAIVING 'I`HEIR RIGHT TO SEEK REMEDIES IN
COUR'I`, INCLUDING THE RIGHT TO A JURY TRIAL.

C) PR.E-ARBITRION DISCOVERY IS GENERALLY MORE L]MITED
THAN AND DIFFERENT FROM COURJ` PROCEEDINGS.

D) THE ARBITRATIORS’ AWARD IS NOT REQUIRED TO INCLUDE

. FACI'UAL HNDINGS OR LEGAL RESONAING A.ND ANY PARTY’S
RIGHT TO APPEAL OR TO SEEK MODIFICAION OF RULING BY THE
ARBITRTORS IS STRICTLY LIMITED.

E) THE PANEL (jR ARBITRATORS WILL TYPICALLY INDCLUDE A
M]NORITY OF ARBITRORS WHO ARE AFFILAITED WITH THE
SECURIITRES INDUSTRY.

__”'ARBHHONWER'THHGRE'EMENI_SHM:BE-C£NBUGH§B£M:P__

BEFORE FINRA. BUT IF CORRESPONDENT FAILS TO MAKE §UCE ELECTYGN,
BY R.EGISTERED LET‘I'ER OR TELEGRAM ADDRESSED TO CLEARING BROKER
IN SALT LAKE CITY, UTA`H OR SUCH OTHER ADDRESS THAT IT MAY ADVISE
CORRESPONDENT OF FROM TIl\¢IE TO TIME, BEOFRE THE EXPERIATION OF
FIVE (5) DAYS AFI`ER RECEIPT OF A VVRI'I`TEN REQUEST FROM

27

_.._. __.-_ _ . .._ .-. _...- ._.. .._. . .._- _.. .........___.. ..--.._. .._.._

ALPINE_LIT167413

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 29 of 33

CORRESPONDENT TO MAKE SUCH AN ELECTION, THEN THE CLEA.RING FIRM
MAY MAKE SUCH AN ELECTION. J`UDGMENT UPON THE AWARD OF THE
ARBITRORS MAY BE ENTERED IN ANY COURT, STATE OR FEDERAL, HAVING
J'USISDICTION. NOTHERIN CONTAINED H.`EREIN SHALL LIM[T THE ABLITY OF
THE ARBITRATORS TO MAKE AN AWARD UNDER THE RULES OF THE
ARBITORS FORUM AND APPLCABLE LA`W EXCEPT AS LIMITED BY TBIS
AGREEMENT AS TO DAMAGES. ANY SUCH ARBITRATION SHALL BE
CONDUCTED AS A BROKER TO BROICER OR MEMBER TO MEMBER DISPUTE.

NO PERSON WHO IS A MEMBER OF A PUTATIVE CLASS WHO HAS NOT
OPTED OUT OF THE CLASS, WITH RESPECT TO ANY CLA]lVIS ENCOIV[PASSED
BY THE PUTTATIVE CLASS ACTION SHALL BRING A PUTATIVE OR
CERTIFICED CLASS ACTION TO ARBITRA.TION, OR SEEK TO ENFORCE ANY
PRE-DISPUTE ARBITRATION AGREEMENT AGAINST ANY PERSON WHO HAS
INITIATED IN COURT A PUT'I'ATIVE CLASS ACTION UNTIL:

A) THE CLASS CERTIFICATION IS DENIDED;
B) THE CLASS IS DECERTITIED; OR
C) THE PERSON IS EXCLUDED FROM THE CLASS BY THE COUR.T.

SUCH FROREBARANCE TO ENFOCE AN AGR.EEMENT TO ARBITRATE
SHALL NOT CONSTITUTE A WAIVER OF ANY RIGHTS UNDER THIS
AGR.EEMENT EXCEPT TO THE EXTENT STATED HEREIN.

NOTWITHSTAN`D[NG THE FOREGOING, ANY AGREEMENT OR AWARD
MADE AS A RESU'LT OF AN ARBITRA.TION PROCEEDING SHALL NOT BE ]N
VIOLATION OF SECTION 408 OF THE TAX CODE AND THE RELA.TED
REGULATIONS.

Section 12. General Provisions

12.1 Applicable Law. This Agi'eement shall he governed by and construed in accordance
with the laws applicable to contracts made and to be performed within the State of Utah.

12.2 Invalid Provisions. To the extent any provision of this Agreement is inconsistent with
or in violation of an Applicable Rule, that provision shall be deemed deleted as part of this
Agreement and shall not otherwise affect any other provision of this Agreem¢lt. The parties
shall use their best efforts to agree upon a valid and enforceable provision which shall be a
reasonable substitnte for such deleted provision in light of the tenor of this Agreement. Any
provision of this Agreement that' is invalid or unenforceable' m any Junsdiction shall, with respect
“__mmhjms&ndog$eine&eedww'&emwfsuehinva£dwmnfem&UW-Mmem-_
affecting the remaining provisions of this Agreeinent oFaEectmg die validity or enforceability of
that provision in any other jurisdiction

28

 

ALPINE_LIT167414

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 30 of 33

12.3 Notices. Notices shall be in writing delivered to the party at the address set forth herein
or such other address as each shall designate to the other and shall be deemed given when mailed
by first class mail or courier, or by facsimile transmission

12.4 Assignment. This Agreement shall be binding upon all succeesors, assigns or
transferees of Clearing Broker or Correspondent, irrespective of any change with regard to the
name or the personnel of Clearing Broker or Correspondent Any assignment of this Agreement
shall be subject to the requisite review, approval and consent of any regulatory or self-regulatory
agency or body whose review, approval and consent must be obtained prior to the effectiveness
and validity of such assignment No assignment of this Agreement by Correspondent shall he
valid unless Clearing Broker consents to such an assignment in writing Any assignment by
Clearing Broker to any subsidiary that it may create or to a company afliliated with or controlled
directly or indirectly by it will be deemed valid and enforceable without consent nom
Correspondent

12.5 Amendments. This Agreement represents the entire Agreement between the parties
with respect to the subject matter contained herein. This Ag.‘eement may not be changed orally
but only by an agreement in writing and signed by the party against whom enforcement of any
waiver, change, modification or discharge is sought This Agreement represents the entire
agreement among the parties, and supersedes all prior agreements and understandings with
respect to the subject matter contained herein The waiver or failure to act by a party with respect
to a breach by the other party of any provision of this Agreement shall not constitute a waiver of
any subsequent breaches of that or any other provisions of this Agreement and shall not
constitute an amendment of this Agreement

12.6 Headings. The headings contained in this Agreement are for convenience only and
shall not be deemed to be a part of the Agreement, or affect the meaning or interpretation of any
provision of this Agreement

12.7 Counterparts. This Agreement may be executed in one or more counterparts, each of
which shall be deemed an original and all of which together shall constitute one and the same

Agreement

12.8 Bcneiiciaries. The_imposition or allocation of any burden or duty on or to one or the
other party by this Agreement does not and is not intended to impose or create any burden, right
or duty in favor of or for the benefit of any person or -tity not aparty to this Agreement

12.9 Non-Solieitation of Employees. Duriiig the term of this Agreement and for a period of
three (3) years after its termination, Correspondent agrees to reh-ain from directly or indirectly
soliciting, or causing to be solicited, any employee of Clearing Broker, or any affiliated entity or
entities, for the purpose of inducing such person to become employed by or associated with

Corr@ondent or any affiliated entity in any capacity Any breach of this section shall be

pursuant to Section 10. 3 above. In such event, Correspondent shall pay the reasonable out-of-
pocket expenses of Clearing Broker’ m connection with converting and/or closing the Accounts,
During the term of this Agreement Clearing Broker and aHiliated entities agree to reii'ain from
directly or indirectly soliciting any employee of Correspondent to become employed by or

 

29

 

ALPINE_LIT167415

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 31 of 33

associated with such firm in any capacity. Any breach of this section shall be deemed a default
by Clearing Broker entitling Correspondent to terminate this Agreement pursuant to Section 10.3
above. hi such event, Clearing Broker shall pay the reasonable out of pocket expenses of
Correspondent in commotion with converting and/or closing the Accoimts.

12.10 Insurance. Correspondent agrees to main\ain, and to provide Clearing Broker with
written evidence (in the form of an insurance certificate) thereof, of a Financial Institution Bond
for Broker-Dealers (Fidelity Bond), Standard Form No. 14, or its equivalent (a) in the amount of
at least §250,000.00 covering any and all losses directly nom any dishonest or &audulent acts
and/or omissions of Correspondent’s employees and agents, and (b) issued by an insurance
company with an A.M. Best rating of no less than A-.

12.11 Citations. Any reference to the niles or regulations cf the SBC, FINRA., Exchange,
or any other regulatory or self-regulatory organization are current citations Any changes in the
citations (whether or not there are any changes in the text of such rules or regulations) shall be
automatically incorporated herein.

12.12 Limltation of Liability, No Ccnsequential Damages. ln any action by
Correspondent against Clearing Broker for any claim arising out of the relationship created by
this Agreement, Clearing Broker shall only be liable to Correspondent in cases of gross
negligence or willful misconduct, and in such cases Clearing Broker shall only be liable for the
amount of actual monetary losses suEered by Correspondent Correspondent shall not, in any
such action or proceeding or otherwise, assert any claim against Clearing Broker for
consequential damages on account of any loss, cost, damage or expense which Correspondent
may suffer or incur related to transactions in connection with this Agreement or otherwise

 

 

30

ALPINE_LIT167416

Case 1:17-cv-O4179-DLC Document 88-5 Filed 01/19/18 Page 32 of 33

§ BOTH PARTIES HBR.ETO REPRESENT THAT THEY HAV'B R.EAD THIS AGREEMENT,
UNDERSTAND IT, AGRBB TO BB BOUND BY ALL TERMS AND CONDITIONS S'I'ATED
HER.EIN, AND ACKNOWLBDGE RECBIPT OF A SIGNED, TRUB, AND BXACT COPY OF
THIS AGRBBMENT. '

|

l

IN WITNESS WHEREOF, Clearing Broker and Correspondent have _executed this
Agreement as of the date set forth below.

ALPINE SECURITIES CORPORATION

By: fn ___J n-D*"§
Its: J"T° bd <;,¥~us®uro__

Signam.re: 4F°

AcArmN non
Bw

 

Its:

Signature: ' Z<@ 4

Address 1

 

Address 2

 

l A (check one)
Corporation
\:l Limited Partnership / Gcneral I’artnership
Limited Liability Company

State of Organization:

 

 

;-_-Minimum-Ba£aaee:-Gleaziag-Bepesit-$:@-o¢_i

Dawd= _»_~_;e;_?__

31

ALPINE_LIT167417

 

______Q_/£».dm.£es_s.e
--__e-ee-n-aae.-

 

Case 1:17-cv-O4179-DLC Document88-5 Filed 01/19/18

Page 33 of 33

7

ACAP
Fee Schedule 9 9
November 1, 2009

¢ B|uesheet Request from FlNRA/SEC 575
- CustomerAccountTransfers

o FuuAcA'rs . $100

' Plus closing lRA fees lf appilcahle

o ParrialAcATs $75

o Delivery Orders $50
v ere Fees

o Domestlc $25

o lnternatlona| $50

» Commlsslons for Buy/Seli Transactlons
o Eariy Pay for Correspondent Accts
0 Tlr:ket Charges
Federal Express Dellvery
o Regular
o international
o Saturday Delivery
inactive Accounts
LOA's l Dellvery Orders "DO's"
o Fami|y Reiated
` o Non-Family Re|ated
l DR$
- DVVAC
o Transferagentfees may also apply
l WIthdrawal by transfer (Physlca| oerts)
o Regu|ar
o Rush
v Certlfil\te Deposit/Clearance
o Deposit Re]ects
¢ Certliilte Transfers

1% directly to Alpine; 525 minimum
530 of which Alpine receives $20

$15
$50
520
$50[yr per account

$0
$100
$50
$50

$160

$550

575 per deposit
$125 per deposit

o Tlansfer fees will be passed on to the customer or correspondent end vary among transfer agents

' Federai Express Fees may epply_
v Statements

o Eiectronlc billed to correspondent at $O.J.D per account per month

o Physicai billed to correspondent at cost

o O.uarteriy download to disk for correspondents to maintain record is $50 per quarter

¢ E|ectronic Access
o Cltrix

o VPN from Broadrldge

$300 one time license charge per user,
$150 yearly fee per user
$25 per user per month

$25 per user per month

 

 

575 p:wsar-por-men%h

- -. » .. . . ... ....._.___.._.__.~.m.__¢.._.. ~..

 

ALPINE_LIT167418

